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 9                                UNITED STATES DISTRICT COURT
10                               EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA                      )      CASE NO.       2:09-CR-00258 GEB
                                                   )
13                  Plaintiff,                     )
                                                   )      STIPULATION AND
14            v.                                   )      (PROPOSED) ORDER
                                                   )      RE: CONTINUANCE OF
15   AMANULLAH KHALIL and                          )      STATUS CONFERENCE
     MUZDHA KHALIL,                                )
16                                                 )      Date: March 19, 2010
                                                   )      Time: 9:00 a.m.
17               Defendants.                       )
     ___________________________________
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              With the Court’s permission, defendants AMANULLAH KHALIL and MUZDHA
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     KHALIL, and plaintiff the UNITED STATES OF AMERICA, by and through their undersigned
21
     counsel, do hereby stipulate and agree to continue the Status Conference, presently scheduled for
22
     March 19, 2010 to April 9, 2010 at 9:00 a.m. The purpose of this requested continuance is to
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     allow the parties an opportunity to meet and confer on potential settlement of the pending matter.
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       Case 2:09-cr-00258-GEB Document 46 Filed 03/19/10 Page 2 of 2


 1   IT IS SO STIPULATED.
 2
 3   DATED:       March 18, 2010        /s/ Sean Flynn by WJP
                                        SEAN FLYNN
 4                                      Assistant United States Attorney
 5
 6   DATED:       March 18, 2010        /s/ William J. Portanova
                                        WILLIAM J. PORTANOVA
 7                                      Attorney for Defendant Amanullah Khalil
 8
     DATED:       March 18, 2010        /s/ Caro Marks
 9                                      CARO MARKS
                                        Attorney for Defendant Muzdha Khalil
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11
12   IT IS SO ORDERED.
13   Dated: March 18, 2010
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15                                   GARLAND E. BURRELL, JR.
16                                   United States District Judge

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